Case 0:19-cv-60323-RKA Document 7 Entered on FLSD Docket 02/26/2019 Page 1 of 1

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AFFIDAVIT OF SERVICE
UNITED STATES DISTRICT COURT
District of Florida
Case Number: 19-CV-60323-
MARTINEZ/SNOW
Plaintiff:
RUSSELL CHARD, on behalf of himself and similarly situated individuals,
and RETIRED FIREFIGHTERS LEGAL DEFENSE FUND, INC.
GNV2019001050

vs.

Defendant:
THE BOARD OF TRUSTEES OF THE CITY OF HOLLYWOOD FIREFIGHTERS'
PENSION SYSTEM and THE CITY OF HOLLYWOOD

For:

DONNELLY & GROSS
2421 NW 41ST STREET
SUITE A-1
GAINESVILLE, FL 32606

Received by GAINESVILLE PROCESS SERVICE on the 12th day of February, 2019 at 5:43 am to be served on
CITY OF HOLLYWOOD JOSH LEVY, MAYOR, 2600 HOLLYWOOD BLVD., HOLLYWOOD, FL 33020.

|, Catrina C. Adams, being duly sworn, depose and say that on the 19th day of February, 2019 at 11:19 am, |:

Served the Government Agency by delivering a true copy of this SUMMONS IN A CIVIL ACTION; CLASS ACTION
COMPLAINT FOR DECLARATORY JUDGMENT, PERMANENT INJUNCTION, DAMAGES, AND OTHER RELIEF
WITH ATTACHED EXHIBITS 1-11 with the date and hour of service endorsed thereon by me, to Josh Levy as
Mayor of the within named agency, to wit: CITY OF HOLLYWOOD at 2600 HOLLYWOOD BLVD., HOLLYWOOD,
FL 33020 and informing such person of their contents in addorcance with State Statutes.

Description of Person Served: Age: 45, Sex: M, Race/Skin Color: White, Height: 5'7", Weight: 165, Hair: Black,
Glasses: N

1 certify that | am a Special Process Server over the age of eighteen, appointed by the Sheriff's Office in the County
in which it was served, that | am in good standing and have no interest in the above action. Under penalties of
perjury, | declare that | have read the forgoing Verified return of service and the facts stated in it are true and correct.
Pursuant to F.S. 92.525(2), Notary not required. Date: een a4 DAG

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lial Cant hh 00!

AO O Catrina C. Adams
Subsgribed and S\ ore me on the day Special Process Server#365
fevy the affiant who is

  
   

 

GAINESVILLE PROCESS SERVICE
1330 Nw 6th Street

Suite D

Gainesville, FL 32627

CRYSTAL MICHELIN (352) 372-2252

liners ae Our Job Serial Number: GNV-2019001050

Bonded Thru Budget Notary Servkes
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